             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:22-cv-00114-MR

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                                        )
IN RE MISSION HEALTH                    )
ANTITRUST LITIGATION                    )                  ORDER
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     THIS MATTER is before the Court on the Defendants’ Motion for the

Admission of attorney John S. Yi as counsel pro hac vice. [Doc. 109]. Upon

careful review and consideration, the Court will allow the Motion.

     IT IS, THEREFORE, ORDERED that the Defendants’ Motion [Doc.

109] is ALLOWED, and John S. Yi is hereby granted pro hac vice

admission to the bar of this Court, payment of the required admission fee

having been received by the Clerk of Court.

     IT IS SO ORDERED.
                              Signed: November 4, 2024




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